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  8                           UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
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 11      JOSE LUIS MUNOZ,                          Case No. 2:19-cv-10439-MWF (GJS)
 12                   Petitioner
                                                    ORDER ACCEPTING FINDINGS
 13             v.                                  AND RECOMMENDATIONS OF
                                                    UNITED STATES MAGISTRATE
 14      J. PICKEET,                                JUDGE
 15                   Respondent.
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 18          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, all
 19    documents filed and lodged in this action, the Report and Recommendation of
 20    United States Magistrate Judge [Dkt. 21, “Report”], Petitioner’s Objections to the
 21    Report [Dkt. 25], and Petitioner’s request for a certificate of appealability [Dkt. 24].
 22    Pursuant to 28 U.S.C. § 636(b)(1)(C) and Fed. R. Civ. P. 72(b), the Court has
 23    conducted a de novo review of those portions of the Report to which objections have
 24    been stated.
 25          Having completed its review, the Court accepts the findings and
 26    recommendations set forth in the Report. Accordingly, IT IS ORDERED that: the
 27    Petition is DENIED; and Judgment shall be entered dismissing this action with
 28    prejudice.
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  1         LET JUDGMENT BE ENTRERED ACCORDINGLY.
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  3    DATE: January 11, 2021
  4                                      __________________________________
                                         MICHAEL W. FITZGERALD
  5                                      UNITED STATES DISTRICT JUDGE
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